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List of plaintiffs:


LUCKY D., an individual;
JONG R.D., an individual;
HOW YUAN, an individual;
 S. ROBERTS, an individual;
 B. KEN, an individual;
J. BELL, an individual;
MoreBet Limited., a United Kingdom Limited liability company;
L. ZHAO, an individual;
KHOO WING, an individual;
P. DEVIN, an individual;
 SUNLI, an individual;
LOODS B.V., a European Union limited liability company;
S. JAMES, an individual;
YANG HOW, an individual;
K. DAVID, an individual;
EDWARD JOHNS, an individual;
NICKLE LEE, an individual;
 S. JONG, an individual;
DRAKE HK, a Hong Kong limited liability company;
JUSTIN BERK, an individual
